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Telephone: (949) 440-6690

Facsimile: (949) 474-6991

Attornesys for Respondent,
MADI QN MATERIALS, a California
Corporatton

OF TEAMSTERS, LOCAL 396,

Petitioner,

 

I THROUGH X,
Respondent.

__ _ l

possible disqualification or recusal:

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

INTERNATIONAL BROTHERHOOD - Case No. lS-cv-O_l772 JLS (ADS)
The_Hon. Josephme L. Staton;
agistrate Autumn D. Spaeth]
NOTICE OF INTERESTED
v. PARTIES SUBMITTED BY
RESPONDENT MADISON

MADISON MATERIALS; AND DOES MATERIALS
(C.D.Cal. L.R. 7.1-1)

TO THE COURT, TO PETITIONER INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, LOCAL 396, AND ITS ATTORNEYS OF RECORD:

The undersigned, as counsel of record for Respondent MADISON
MATERIALS, a California Corporation, certifies that the following listed parties
may have a pecuniary interest in the outcome of this case. These representations are

made pursuant to C.D. Cal. Local Rule 7.1-1, to enable the Court to evaluate

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l. INTERNATIONAL BROTHERHOOD OF TEAMSTERS, LOCAL
396 (Petitioner).

2. MADISON MATERIALS, a Califomia Corporation (Respondent).

3. WARE DISPOSAL COMPANY, INC.

DATED: November 8, 2018 MANNING & KASS
ELLROD, RAMIREZ, TRESTER LLP

Byr /S/John M. Cowden
John M. Cowden
Kevin H. Louth
Jordon R. Ferguson
Attorneys for Respondent
MADISON MATERIALS, a California
Corporation

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CERTIFICATE OF SERVICE
STATE OF CALIFORNIA, COUNTY OF ORANGE

_ At the time of ser_vice, I was over 18 years of age and not a part to this
action. 1 am emop}`o[yed iii the County of Orange State _of Califomia. y business
address is 1980 acArthur Boulevard, Suite 900, Irvine, CA 92612.

_ On November 9 2018 I served true co ies of the followin document(s)
described as NOTICE or lNTEREsTEi) PA TiEs sUBMiT i) BY
RESPONDENT _MAl_)ISO_N MATERIALS (C.D.Cal.L.R. 7 .1-1) on the
interested parties in this action as follows:

Paul_ L. More Attorneys for Petitioner,
Be%amin Kowalczyk Intemational Brotherhood of Teamsters,
ll\J/II::P racken, Stemerman & Holsberry, Local 396

595 Market Street, Suite 800
San Francisco, CA 94105
T: 415-597-7200
F: 41_5-597-7200
Email: lpmore§;g'i)‘msh.law
tbkowa cvz ,ms . aw

BY MAIL: I enclosed the document(s) i_n a sealed envelope or packa e
addressed to the er_sons at the addresses listed in the S_ervice Li_st and place the
envelope fo_r _col ection and mailin following our ordinary business practices I am
readil familiar with the practice o Manning & Kass ,Ellrod, Ramirez, Trester LLP
for co lecting an_d processing correspondence for mai_iii_ig. On t_he same day tl_iat
correspondence is placed for collection and mailing, i_t is deposited in the ordina_
course of business with the United States Postal Ser_vice, in a sealed envelope wit
postage full prepaid. I am a resident or employed in_ the cou_nty where the mailing
occurred. e envelope was placed in the mail at Irvine, Califomia.

I declare under penalt of perjury under the laws of the State of California
that the foregoing is true an correct.

Executed on November 9, 2018, at Irvine, Califomia.

/s/ Laura Mendez
Laura Mendez

CERTIFICATE OF SERVICE

 

